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                     EXHIBIT J
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                                                                                                                                                     LarsonP3000066




To: Yael Goldstein                                                                                                                                                                  CD
Especially since I can't help thinking she HAD to be having just a touch a postpartum psychosis

                                                                     Basically I want it in writing that she will never ever contact me again. I want her fully out of my life forever

Yes, that sounds very wise

You need to be fully protected

You need the equivalent of a restraining order but for reputations

Does that exist?

                                                               Although apparently she's now at a multi-week residency in Illinois, without her 6-month-old. I don't want to
                                                               reinforce the patriarchy or hold artists back, but it's rather amazing to me

                                                                     Yeah, good question- I think if we make clear that we WILL sue for defamation, that ought to keep her in
                                                                     check
